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 7

 8                             UNITED STATES DISTRICT COURT

 9                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO

10   E.Y. OROT ASSETS LTD., an Israeli company,   Case No. 3:24-cv-03836-TLT
     and OMEGA ECO DIAMONDS LTD., an
11   Israeli company,                             DEFENDANT AND
                                                  COUNTERCLAIMANT DIAMOND
12                                                FOUNDRY INC.’S REQUEST FOR
                           Plaintiffs,            JUDICIAL NOTICE IN SUPPORT OF
13
           v.                                     OPPOSITION TO MOTION TO DISMISS
14                                                COUNTERCLAIM
     DIAMOND FOUNDRY INC., a Delaware
15   corporation,                                 Date:            February 25, 2025
                                                  Time:            2:00 p.m.
16                                                Judge:           Hon. Trina L. Thompson
                           Defendant.             Courtroom:       9
17
                                                  Action Filed: June 26, 2024
18                                                Trial Date:   February 9, 2026

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        REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF OPPOSITION TO MOTION TO DISMISS
                                     COUNTERCLAIM
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 1            TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF RECORD:

 2   PLEASE TAKE NOTICE that Defendant and Counterclaimant DIAMOND FOUNDRY INC.

 3   (“Foundry”) hereby requests the Court to take judicial notice of the following documents in

 4   connection with Foundry’s Opposition to Plaintiffs’ Motion to Dismiss Foundry’s Counterclaim

 5   pursuant to Federal Rule of Evidence (“FRE”) 201. Those documents are:

 6            (1)   Articles 166-169 of the 2018 Israeli Civil Procedure Regulations. A true and

 7   accurate copy of the original Hebrew version of Articles 166-169 of the 2018 Israeli Civil

 8   Procedure Regulations is attached as Ex. A to Declaration of James S. Davidson in Support of

 9   Request for Judicial Notice (“Davidson Decl.”). An accurate, true and correct English translation

10   of Articles 166-169 of the 2018 Israeli Civil Procedure Regulations is attached as Davidson Decl.,

11   Ex. B. The certification of translation of Articles 166-169 of the 2018 Israeli Civil Procedure

12   Regulations from Hebrew to English is attached as Davidson Decl., Ex. C.

13            (2)   CA 8195/02 Sheetrit v. Sharp Corporation, PD 58(1) 193 (2003) (Isr.). A true and

14   accurate copy of the original Hebrew version of CA 8195/02 Sheetrit v. Sharp Corporation, PD

15   58(1) 193 (2003) (Isr.) is attached as Davidson Decl., Ex. D. An accurate, true and correct English

16   translation of CA 8195/02 Sheetrit v. Sharp Corporation, PD 58(1) 193 (2003) (Isr.) is attached

17   as Davidson Decl., Ex. E. The certification of translation of CA 8195/02 Sheetrit v. Sharp

18   Corporation, PD 58(1) 193 (2003) (Isr.) from Hebrew to English is attached as Davidson Decl.,

19   Ex. F.

20   I.       LEGAL STANDARD FOR REQUEST FOR JUDICIAL NOTICE
21            FRE 201 provides that the Court may take judicial notice of matters of public record that

22   “can be accurately and readily determined from sources whose accuracy cannot reasonably be

23   questioned.” Fed. R. Evid. 201(b)(2). Taking judicial notice of such facts does not convert a

24   motion to dismiss under Rule 12(b)(6) into a motion for summary judgment. See Lee v. City of

25   Los Angeles, 250 F.3d 668, 688-89 (9th Cir. 2001); Emrich v. Touche Ross & Co., 846 F.2d

26   1190, 1198 (9th Cir. 1998).

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 1   II.   THE COURT SHOULD TAKE JUDICIAL NOTICE OF FAITHFULLY
           TRANSLATED ISRAELI AUTHORITY
 2

 3            The Court should take judicial notice of Articles 166-169 of the 2018 Israeli Civil

 4   Procedure Regulations and CA 8195/02 Sheetrit v. Sharp Corporation, PD 58(1) 193 (2003)

 5   (Isr.), as translated into English by certified translation. “[I]t is appropriate” for courts to

 6   consider “relevant sources on foreign laws” when pertinent to the case. Lopez v. Inter-Con Sec.

 7   Sys., Inc., No. 2:22-CV-09080-CAS (EX), 2024 WL 4839792, at *4 (C.D. Cal. Nov. 18, 2024)

 8   (taking judicial notice of article from the Honduran Labor Code). Further, in BCS Bus.

 9   Consulting Servs. Pet. Ltd. v. Baker, Case No. 19-cv-06914, 2024 WL 4848789 (C.D. Cal. Nov.

10   4, 2024), the court held that it was appropriate to take judicial notice of “‘court filings and other

11   matters of public record’” because those sources’ “accuracy cannot reasonably be questioned for

12   the purposes of the Federal Rules of Evidence.” Id. at *6 (citation omitted).

13            Here, the Court should take judicial notice of Exhibits A, B, D, and E because Articles

14   166-169 of the 2018 Israeli Civil Procedure Regulations and CA 8195/02 Sheetrit v. Sharp

15   Corporation, PD 58(1) 193 (2003) (Isr.) are matters of public record whose accuracy cannot

16   reasonably be questioned.

17   III. CONCLUSION
18            For the reasons stated above, the Court should take judicial notice of Exhibits A, B, D,

19   and E.

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21   Dated: January 10, 2025                            DLA PIPER LLP (US)

22                                                      By: /s/ Jeffrey E. Tsai
                                                            JEFFREY E. TSAI
23                                                          JAMES S. DAVIDSON
24                                                           Attorneys for Defendant
25                                                           DIAMOND FOUNDRY INC.

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       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF OPPOSITION TO MOTION TO DISMISS
                                    COUNTERCLAIM
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